                                       UnHed States Department of Agriculture




Animal and Plant       August 29, 2013
Health Inspection
Service
                       Pamela Sellner
Animal Care
Western Region
                       1512 210th Street
                       Manchester, lA 52057
2150 Centre Avenue
Building B, 3W11
Fort Collins, CO       Dear Ms. Sellner:
80526
Phone: 970/494-7478
Fax: 970/494-7461      I write in reply to your further appeal of three citations from the inspection report
                       dated June 12, 2013. Each citation is addressed individually below.

                      With regard to the citation of Section 3.127(c), Drainage: as requested, copies of
                      photographs showing-the noncompliance are includedbelow.                   ·· --- ---




                      The citation of this noncompliance on the inspection report states: "The cattle
                      must walk through the water and mud in order to access the food and water
                      receptacles in the enclosure. The cattle were observed to sink in the mud almost
                      to the level oftheir 'knees' as they walked in this area. Their coats were muddy
                      along the entire length of their legs and on the undersides of their
                      abdomens. " The photographs clearly depict the noncompliance as described.

                      With regard to the citation of Section 3.10, Watering: photographic evidence
                      depicts a buildup of green material (as stated on the inspection report) as opposed
                      to a "slight green color."


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    With regard to the citation of Section 2.40(b) (2), Attending Veterinarian and Adequate
    Veterinary Care: I am glad to hear that subsequent to our inspection, .you had your
    veterinarian evaluate the nonhuman primate, Cynthia. Further, I am glad to hear that she
    is improving and "looks good right now." Please note that if you had contacted your
    veterinarian at the time the condition needed veterinary attention, as opposed to after our
    inspector identified said condition during the inspection, a citation would not have been
    written.

    Based on the information above, the three appealed citations will remain on the
    inspection report as written.

      With regard to your question "how good is good enough": the standards of the Animal
      Welfare Act do not represent or create an expectation of perfection; they are coiisidered
· · - to·be the minimum·standaids tlmt must be met by:Tegulatedfacil.itiesinorder tore uc ····    -    ·-.- ··
      compliance. Most regulated facilities exceed those standards, but that is not
      required. However, full compliance with the minimum standards is required and
      expected.

    If you have additional information you wish to be considered, please forward it to the
    address provided. If we do not hear from you within 30 days, the original inspection
    report will be posted online at that time. Thank you for your interest in the welfare of ·
    animals.

    Sincerely,




   Robert M. Gibbens, DVM
   Director, Western Region
   USDA, APHIS, Animal Care




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